Case 3:21-cv-01339-KM Documenti1-1 Filed 07/30/21

RAND SPEAR®

Marc F, GREENFIELD’
STUART A, RICHMAN
JEREMY M, Werrz*t
Scott T. TAGGART*

MICHAEL R, LOGUE’
TIMOTHY JEFFREY DOMIS
MICHAEL A. PUNGETORE*
MICHAEL G. SPEAR"
MICHAEL A. DELANEY
DAViD B, KLINE
NIKOLAY LUKIN
RICHARD H. KUGEL
HEATHER R, REESE
JONATHAN L. LITWINOWICZ
NicHOLAS C, KAPSIMALIS
REBECCA A. SWEENEY

CW Transport, LLC
a/k/a CW Transportation, LLC
426 Concordia Avenue, Apt. D
St. Paul, MN 55103

SPEAR GREENFIELD

RICHMAN WEITZ & TAGGART, PC
ATTORNEYS & COUNSELORS AT LAW

TWo PENN CENTER PLAZA, SUITE 200
i500 J].F.K. BOULEVARD
PHILADELPHIA, PENNSYLVANIA 19102
(295) 985-2424
FAX (215) 545-6117
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July 2, 2021

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NEW JERSEY OFFICE
10,000 LINCOLN DRIVE EAST
ONE GREENTREE CENTRE, SUITE 201
MARLTON, NJ 08053
{856) 985-4663

“MEMBER OF NJ AND PA BAR

TCERTIFIED BY THE SUPREME
COURT OF NEW JERSEY AS
A CIVIL TRIAL ATTORNEY

RE: Medley, Corey v. Abdulle, Saed & CW Transport, Inc. & CW Transport,
LLC & CW Trasnport LLC a/k/a CW Transportation, LLC
CCP Schuylkill County, No. $-924-21

Dear Sir or Madam:

Enclosed herewith is a copy of Plaintiffs Complaint which has been filed against you in the
Philadelphia County Court of Common Pleas. Please be advised that if you wish to defend against
the claims set forth, you must take action within twenty (20) days after receipt of the Complaint by
entering a written appearance personally or by an attorney and filing in writing with the Court your
defenses or objections to the claims set forth against you.

RS/dms
Enclosures

VIA PRIORITY MAIL

Very truly yours,
SPEAR, GREENFIELD,

RICHMAN, WEITZ & TAGGART, P.C.

Rand Spear

Rand Spear
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Case 3:21-cv-01339-KM Document 1-1 Filed 07/30/21 Page 2 of 23

 

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For Prothonotary Use Onty:

 

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Supplement or replace the fi ling. and service:of pleadings or other papers:as Peguired by law or rules of court.

"hel i Dnation collected on this form is used solely for court administration purposes, This form does not

 

) Commencement of Action:

 

FE] Complaint (1 writ of Summons F1 Petition
G Transfer from Another Jurisdiction [] Declaration of Taking
Lead Plaintiff's Name: =. Lead Defendant's Name:

 

| Are money damages requested? [] Yes No (check one)

Dollar Amount Requested: [within arbitration limits

FJoutside arbitration limits

 

Is this a Class Action Suit? PMYes EE] No Is this an MDI Appeal? Yes [] No

 

 

Name of Plaintiff/Appellant’s Attorney: |

Ej Cheek here if you have no attorney (area a Self- Represented [Pro Se] Litigant)

 

 

you consider most important.

Natu re of the Case: “Place an *“X” to the left of the ONE case category that most accurately describes your
PRIMARY CASE, lf you are making more than one type of claim, check the one that

 

 

 

 

 

 

 

 

 

 

 

TORT (do not include Muss Tort} | | CONTRACT (do not include Judgments) | | CIVIL, APPEALS

7 Intentional : 1] Buyer Plaintiff | Administrative Agencies

E"] Malicious Prosecution : Debt Collection: Credit Card (_] Board of Assessment

[J Motor Vehicle 14 [7] Debt Collection: Other [J Board of Elections

["] Nuisance 7 Dept. of Transportation

EE] Premises Liability . Statutory Appeal: Other

rj Product yaity (does not include rn Employment Dispute

El Stander/ibel Defamation | Employment Dispute: Other LJ Zoning Board

EJ other:
7] Other:

MASS TORT

I] Asbestos

[J Tobacco ©

[7] Toxic Tort - DES f a

[J Toxic Tort - Implant 1 | REAL PROPERTY | MISCELLANEOUS

5 Toxic Waste : F] Ejectment (3 Common Law/Statutory Arbitration

F] Other: . 1 {] Eminent Domain/Condemnation (3 Declaratory Judgment

: [_} Ground Rent (2) Mandamus
[J Landlord/Tenant Dispute (_] Non-Domestic Relations

ss _—____— [7] Mortgage Foreclosure: Residential |- Restraining Order
PROFESSIONAL LIABLITY EF] Mortgage Foreclosure; Commercia] Quo Warranto

[I Dental 7] Partition Replevin

I] Legal ‘|| (C] Quiet Title [I other:

EI Medical EC] Other:

[) Other Professional.

 

 

 

 

 

 

Updated 1/1/2011

 
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SPEAR, GREENFIELD, RICHMAN, WEITZ & TAGGART, P.C.

BY: MARC F, GREENFIELD, ESQUIRE
LD. NO.: 62081
Two Penn Center Plaza, Suite 200

 

1500 LF.K.. Boglevard
Philadelphia, PA- 19102
(215) 985-2424
COREY MEDLEY _ r
1108 Inverness Circle F
Windsor Circle i
New Castle, DE 19720 :
¥. :
SAED ABDULLE :
426 Concordia Avenue, Apt. D :
St. Paul, MN 55103 IL
& xb
CW TRANSPORT, INC, :
22005 Route 220
Ulster, PA 18850 :
& :
CW TRANSPORT, LLC a
1005 Caroline Drive %

Federalsburg, MD 21632 continued 7

MAJOR JURY

 

 

Attorney for plaintiff

COURT OF COMMON PLEAS
COUNTY OF SCHUYLKILL
CIVIL TRIAL DIVISION

COMPLAINT IN PERSONAL INJURY
2V MOTOR VEHICLE ACCIDENT

NOTICE

You have been sued in court, If you wish to defend against the
claims set forth in the following pages, you must fake action within tweily (20)
days after this complaint and notice are served, by entering a wrilten appearance
personaily or by attomey and filing in writing with dhe court your defenses or
objections to the claims set forth against you, You are wamed thal if you fail to
do so the case may proceed without you and a judgment may be entered apelnst
you by the court without further notice for any money claimed in the complaint
or for any other claiin or relief requested by the plalatiff, You may tose money or
property or other dghts important to you,

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE, iF YOU
DO NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET
FORTH BELOW. THiS OFFICE CAN PROVIDE YOU WITH
INFORMATION ABOUT HIRING A LAWYER,

iF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE
ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES
THAT MAY OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A
REDUCED FEE OR NO FEB

SCHUYLKILL BAR ASSOCIATION
50 W. Market Street

Pottsville, PA E790}

(570) 622-0767

ADVISO

Le han deitandado a usted en la corte, Si usted quicre defenderse
de estas deinandas cxpuestas en Jas pipinas siguientes, usted tlene veirite (20)
dias, de plazo al partir de Ie fecha de fa destanda y la notification, Hace falta
ascniar ana comparencia escrita o en persona 6 con ut abogado y entregar a la
corte en forma escrita sus defensas o sus objeciones a las demandas en contra
de sti persona, Sea avisado que si usted no se defiende, la corte tomard medidas
Y¥ puede coutinuar fa demanda en contra suya sin previo aviso o notificacion,
Ademds, la corte puede decidir a favor del demandante y requicre que usted
cumpla con todas las provisiones de esta demanda. Usted pitede perder dinero o
Sus propiedades u atros derechos importantes para usted,

LLEVE ESTA DEMANDA A UN ABOGADO INMEDIATAMENTE, 5] NO
TIENE ABOGADO OQ $1 NO TIENE EL DINERO SUFICIENTE DE PAGAR
TAL SERVICIO, VAYA BN PERSONA O LLAME POR TELEFONO ALA
OFICINA CUYA DIRECCION SE ENCUENTRA ESCRITA ABAIO PARA
AVERIGUAR DONDE SE PUEDE CONSEGUIR ASISTENCIA LEGAL: |

SCHUYLKILL BAR ASSOCIATION
50 W, Market Street

Pottsville, PA 1790)

Feléfona: (570) 622-0767
Case 3:21-cv-01339-KM Document 1-1 Filed 07/30/21 Page 4 of 23

CW TRANSPORT, LLC 2
a/k/a CW TRANSPORTATION, LLC
426 Concordia Avenue, Apt. D

St. Paul, MN 55103

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COMPLAINT IN PERSONAL INJURY ¢

2V MOTOR VEHICLE ACCIDENT

NOTICE

You have been sued in court. If you wish to defend against
the claims set forth in the following pages, you must take action within
twenty (20) days efter this complaint and notice are served, by entering
a written appearance personally or by attorney and filing in writing
with the court your defenses or objections to the claims set forth
against you, You are warmed that if you fail 10 do 30 the case may
proceed without you and a judgment may be entered against you by the
court without further notice for any money claimed in the complaint or
for any other claim or relief requested by the plaintiff. You may lese
Inoney or property or other rights important to you,

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT
ONCE. IF YOU DO NOT HAVE A LAWYER, GOTO OR
TELEPHONE THE OFFICE SET FORTH BELOW, THIS OFFICE
CAN PROVIDE YOU WITH FNFORMATION ABOUT HIRING A
LAWYER.

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE
MAY BE ABLE TO PROVIDE YOU WITH INFORMATION
ABOUT AGENCIES THAT MAY OFFER LEGAL SERVICES TO
ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE

SCHUYLKILL BAR ASSOCIATION
50 W, Market Street

Pottsville, PA 17901

(570) 622-0767

 

ADVISO

Le han demandado a usted en [a corte. Si usted giiere ve

defenderse de estas demandas expuestas en las paginas siguieptes, - ,°:

usted Hene veinte (20) dias, de piazo al partir de fa fecha de ia _. .
demands y la notificatién, Hace falta asentar una compatencia escrita
0 en persona o con un abogada y entregar a la corte en forma escrita
sus defensas 0 sus objeciones a las demandas en contra de su persona.
Sea avisado que si usted no se defiende, fa corte tomard medidas y
puede continuar fa demanda en contra snya sin previc aviso o
notificacion, Ademas, la corte puede decidir a favor del demandante y
requiere que usted cumpia con todas las provistones de esta demanda.
Usted puede perder dinero o sus propiedades u otros derechos
importantes para usted,

LLEVE ESTA DEMANDA A UN ABOGADO
INMEDIATAMENTE, SI NO TIENE ABOGADO O SI NO TIENE
EL DINERO SUFICIENTE DE PAGAR TAL SERVICIO, VAYA
EN PERSONA 0 LLAME POR TELEFONO A LA OFICINA
CUYA DIRECCION SE ENCUENTRA ESCRITA ABAJO PARA
AVERIGUAR DONDE SE PUEDE CONSEGUIR ASISTENCIA
LEGAL:

SCHUYLKILL BAR ASSOCIATION
50 W. Market Street

Potisvili, PA 17901

(570) 622-0767
Case 3:21-cv-01339-KM Document 1-1 Filed 07/30/21 Page 5 of 23

COMPLAINT IN PERSONAL INJURY
2V MOTOR VEHICLE ACCIDENT

 

Tae

1, Plaintiff, Corey Medley, is a citizen and resident of the State of Delawaré, ’

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residing at the address listed in the caption of this Complaint.

2, Defendant, Saed Abdulle, is a citizen and resident of the State of Minnesota, with
an address listed in the caption of this Complaint, who at all times material hereto was acting
individually and/or as a lessee, agent, servant, workman, and/or employee of defendants, CW
Transport, Inc., CW Transport, LLC and CW Transport, LLC a/k/a CW Transportation, LLC,
with defendants, CW Transport, Inc., CW Transport LLC and CW Transport, LLC a/k/a CW
Transportation, LLC’s, express, apparent and/or implied permission, authorization and/or
consent. |

3, Defendant, CW Transport, Inc., is a business entity of the Commonwealth of
Pennsylvania, with an address listed in the caption of this Complaint, who at all times material
hereto was acting individually and/or by and through all lessees, agents, servants, workmen,
and/or employees, including defendant, Saed Abdulle.

4, Defendant, CW Transport, LLC, is a business entity of the State of Maryland,
with an address listed in the caption of this Complaint, who at all times material hereto was
acting individually and/or by and through all lessees, agents, servants, workmen, and/or
employees, including defendant, Saed Abdulle.

5. Defendant, CW Transport, LLC a/k/a CW Transportation, LLC, is a business
entity of the State of Minnesota, with an address listed in the caption of this Complaint, who at
all times material hereto was acting individually and/or by and through all lessees, agents,

servants, workmen, and/or employees, including defendant, Saed Abdulle.
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6. On or about November 6, 2019, plaintiff operated a motor vehicle at or near State
Highway 901, in the Township of Foster and Schuylkill County, in the Commonwealth of
Pennsylvania.

7, At the same date and time, defendant, Saed Abdulle, operated a motor vehicle
owned by defendants, CW Transport, Inc., CW Transport, LLC and CW Transport, LLC a/k/a
CW Transportation, LLC, at or near State Highway 901 East, in the Township of Foster and
Schuylkill County, in the Commonwealth of Pennsylvania.

8. Suddenly and without warning, defendant, Saed Abdulle, negligently, carelessly
and/or recklessly operated defendant, CW Transport, Inc, CW Transport, LLC and CW
Transport, LLC a/k/a CW Transportation, LLC’s., motor vehicle in such a manner as to
cause a collision.

9. As a result of this accident, plaintiff suffered severe and permanent bodily injury

as more fully set forth below.

COUNT I
Corey Medley vy. Saed Abdulle

Personal Injury.

10. Plaintiff incorporates herein the allegations set forth in the aforementioned
paragraphs, inclusive, as if set forth here at length.
11. The negligence, carelessness and/or recklessness of defendant consisted of the
following:
a, Operating a motor vehicle in a negligent and/or careless manner without
regard for the rights or safety of plamtiff or others;

b. Failing to have said vehicle under proper and adequate control;
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c. Failing to observe the position of plaintiff and to take such action as was
necessary to prevent causing a collision;

d. Failing to operate a motor vehicle at a speed which would have allowed
defendant to stop within an assured clear distance;

e. Operating said vehicle at a dangerous and excessive rate of speed under
the circumstances;

f. Being inattentive to defendant's duties as an operator of a motor vehicle;

g. Disregarding traffic lanes, patterns and other devices;

h. Failing to keep an adequate distance from other vehicles that were within
the vicinity of defendant's vehicle;

i. Failing to perceive the highly apparent danger to others which the
defendant’s actions and/or inactions posed;

j. Failing to give plaintiff meaningful waming signs concerning the
impending incident;

k, Failing to exercise ordinary care to avoid injuring plaintiff;

l. Failing to be highly vigilant and maintain sufficient control of said
vehicle;

m. Causing a collision;

n. Operating a motor vehicle with disregard for the rights, safety and
proximity of plaintiff, even though defendant was aware, or should have
been aware of plaintiffs presence and the threat of harm posed to plaintiff}

o. Failing to inspect defendant's vehicle or to maintain defendant's vehicle in

a safe and non-defective condition;
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p. Allowing a dangerous, unsafe and defective motor vehicle to be operated
on a public highway;

q. Failing to operate a motor vehicle in compliance with the applicable laws
and ordinances of the Township of Foster and Schuylkill County and the
Statutes of the Commonwealth of Pennsylvania pertaining to the operation
and control of motor vehicles;

r. Operating a motor vehicle and other devices at the same time and in total
disregard for the safety of the plaintiff and others in direct violation of the
laws of the Commonwealth of Pennsylvania; and,

Driving recklessly,

fa

12. ‘Asa direct result of the negligent, careless and/or reckless conduct of defendant,
the plaintiff, suffered various serious and permanent personal injuries, serious impairment of
body function and/or permanent serious disfigurement, and/or aggravation of pre-existing
conditions, including, but not limited to: head, spine, neck, back, arms, hands, legs, and feet, and
other ills and injuries, all to plaintiff's great loss and detriment.

13, Asaresult of these injuries, all of which are permanent in nature and all of which
are to plaintiff's great financial detriment and loss, plaintiff has in the past, is presently and may
in the future suffer great pain, anguish, sickness and agony and will continue to suffer for an
indefinite time into the future.

14. _— As an additional result of the carelessness, negligence and/or recklessness of
defendant, plaintiff has suffered emotional injuries, along with the physical injuries suffered.

15. _ As a further result of the plaintifi’s injuries, plaintiff has in the past, is presently

and may in the future undergo a great loss of earnings and/or earning capacity, all to plaintiff's
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further Joss and detriment.

16. Furthermore, in addition to all the injuries and losses suffered by the plaintiff,

plaintiff has also incurred or will incur medical, rehabilitative and other related expenses in an
amount equal to and/or in excess of the basic personal injury protection benefits required by the
Pennsylvania Motor Vehicle Financial Responsibility Law, 75 Pa.C.S. §1701, et. seq., as
amended, and/or Worker’s Compensation Benefits pursuant to Act 57, for which plaintiff makes
a claim for payment in the present action.

WHEREFORE, plaintiff demands judgment in plaintiff's favor and against defendant in
an amount in excess of Fifty Thousand ($50,000.00) Dollars, pius all reasonable attorney's fees,
costs and any other relief the court deems necessary.

COUNT II
Corey Medley v. CW Transport, Inc.

Personal Injury

17.  Piaintiff incorporates by reference all the allegations contained in the above
paragraphs as if the same were set forth below at length.
18. The negligence, carelessness and/or recklessness of defendant, acting individually
and/or by and through agents, servants, workmen and/or employees, consisted of the following:
a. Operating a motor vehicle in a negligent and/or careless manner without
regard for the rights or safety of plaintiff or others;
b. Failing to have said vehicle under proper and adequate control;
c. Failing to observe the position of plaintiff and to take such action as was
necessary to prevent causing a collision,

d. Failing to operate a motor vehicle at a speed which would have allowed
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h,

defendant to stop within an assured clear distance;

Operating said vehicle at a dangerous and excessive rate of speed under
the circumstances; |

Being inattentive to defendant's duties as an operator of a motor vehicle,
Disregarding traffic lanes, patterns and other devices;

Failing to keep an adequate distance from other vehicles that were within
the vicinity of defendant's vehicle;

Failing to perceive the highly apparent danger to others which the
defendant’s actions and/or inactions posed;

Failing to give plaintiff meaningful warning signs concerning the
impending incident;

Failing to exercise ordinary care to avoid injuring plaintiff;

Failing to be highly vigilant and maintain sufficient contro] of said

vehicle;

. Causing a collision;

Operating a motor vehicle with disregard for the rights, safety and
proximity of plaintiff, even though defendant was aware, or should have
been aware of plaintiff's presence and the threat of harm posed to plaintiff;
Failing to inspect defendant's vehicle or to maintain defendant's vehicle in
a safe and non-defective condition;

Allowing a dangerous, unsafe and defective motor vehicle to be operated
on a public highway;

Failing to operate a motor vehicle in compliance with the applicable laws
Case 3:21-cv-01339-KM Document 1-1 Filed 07/30/21 Page 11 of 23

19,

the following:

8.

and ordinances of the Township of Foster and Schuyikill County and the
Statutes of the Commonwealth of Pennsylvania pertaining to the operation
and control of motor vehicles;

Operating a motor vehicle and other devices at the same time and in total
disregard for the safety of the plaintiff and others in direct violation of the
laws of the Commonwealth of Pennsylvania; and,

Driving recklessly,

The negligence, carelessness and/or recklessness of defendant further consisted of

Permitting an incompetent driver to operate the motor vehicle;

Failing to determine whether defendant driver possessed the necessary
skills and/or possessed the necessary mental or physical ability to exercise
such driving skills;

Failing to determine whether defendant driver possessed a valid license or
other requirements to

drive and/or operate a motor vehicle;

Failure to inspect defendant driver’s prior history of bad driving;

Failing to instruct defendant driver in the proper method of operating a
motor vehicle;

Failing to properly instruct the defendant driver on how to properly
operate his or her motor vehicle and its warning apparatus in an
emergency situation;

Failing, as defendant driver's authority, to control defendant driver's
Case 3:21-cv-01339-KM Document 1-1 Filed 07/30/21 Page 12 of 23

conduct in regard to the manner in which defendant driver were operating
the motor vehicle at the aforesaid time and place as herein before
described . Se eee ween
i. Failing to maintain said vehicle in a safe condition;
j. Allowing this dangerous, unsafe and defective motor vehicle to be
operated on a public highway;
k. Failing to properly hire employees, inchiding co-Defendant;
l. Failing to properly train and supervise employees, including co-
Defendant;
m. Failing to properly maintain its vehicles, including the vehicle being
operated by co-Defendant; and,
n. Failing to properly assure that its drivers, including co-Defendant, would
not put others in danger, including Plaintiff.
20, As 4 direct result of the negligent, careless and/or reckless conduct of defendant,
The plaintiff, suffered various serious and permanent personal injuries, serious impairment of
body function and/or permanent serious disfigurement, and/or aggravation of pre-existing
conditions, including, but not limited to: head, spine, neck, back, arms, hands, legs, and feet, and
other ills and injuries, all to plaintiff's great joss and detriment.
21. As a result of these injuries, all of which are permanent in nature and all of which
Are to plaintiff's great financial detriment and loss, plaintiff has in the past, is presently, and may
in the future suffer great pain, anguish, sickness and agony and will continue to suffer for an

indefinite time into the future.

22. As an additional result of the carelessness, negligence and/or recklessness of

10
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defendant, plaintiff has suffered emotional injuries along with the physical injuries suffered.

23, As a further result of the injuries sustained, the plaintiff has, is presently, and may
in the future undergo a great loss of earnings and/or earning capacity, all to plaintiff's further loss
and detriment.

24. Furthermore, in addition to all the injuries and losses suffered, the plaintiff has
incurred or will incur medical, rehabilitative and other related expenses in an amount equal to
and/or in excess of the basic personal injury protection benefits required by the Pennsylvania
Motor Vehicle Financial Responsibility Law, 75 Pa. C.S. §1701, et. seg., as amended, and/or
Worker’s Compensation Benefits, pursuant to Act 57, for which plaintiff makes claim for im the
present action.

WHEREFORE, plaintiff demands judgment in plaintiffs favor and against defendant in

an amount in excess of Fifty Thousand ($50,000.00) Dollars, plus all reasonable costs and any

other relief the court deems necessary.

COUNT HI
Corey Medley v. CW Transport, LLC

Personal Injury

25. Plaintiff incorporates by reference ail the allegations contained in the above

paragraphs as if the same were set forth below at length.
26. The negligence, carelessness and/or recklessness of defendant, acting individually
and/or by and through agents, servants, workmen and/or employees, consisted of the following:
a, Operating a motor vehicle in a negligent and/or careless manner without

regard for the rights or safety of plaintiff or others;

b. Failing to have said vehicle under proper and adequate control;

11
Case 3:21-cv-01339-KM Document 1-1 Filed 07/30/21 Page 14 of 23

c. Failing tc observe the position of plaintiff and to take such action as was
necessary to prevent causing a collision;

d. Failing to operate a motor vehicle at a speed which would have allowed
defendant to stop within an assured clear distance;

e. Operating said vehicle at a dangerous and excessive rate of speed under
the circumstances;

f. Being inattentive to defendant's duties as an operator of a motor vehicle;

g. Disregarding traffic lanes, patterns and other devices;

h. Failing to keep an adequate distance from other vehicles that were within
the vicinity of defendant's vehicle;

i, Failing to perceive the highly apparent danger to others which the
defendant’s actions and/or inactions posed;

j. Failing to give plaintiff meaningful warning signs concerning the
impending incident;

k. Failing to exercise ordinary care to avoid injuring plaintiff;

l. Failing to be highly vigilant and maintain sufficient control of said
vehicle;

m. Causing a collision;

n. Operating a motor vehicle with disregard for the rights, safety and
proximity of plaintiff, even though defendant was aware, or should have
been aware of plaintiff's presence and the threat of harm posed to plaintiff;

o. Failing to inspect defendant's vehicle or to maintain defendant's vehicle in

a safe and non-defective condition;

12
Case 3:21-cv-01339-KM Document 1-1 Filed 07/30/21 Page 15 of 23

27,

the following:

8.

Allowing a dangerous, unsafe and defective motor vehicle to be operated
on a public highway;

Failing to operate a motor vehicle in compliance with the applicable laws
and ordinances of the Township of Foster and Schuylkill County and the
Statutes of the Commonwealth of Pennsylvania pertaining to the operation
and control of motor vehicles;

Operating a motor vehicle and other devices at the same time and in total
disregard for the safety of the plaintiff and others in direct violation of the
Jaws of the Commonwealth of Pennsylvania; and,

Driving recklessly.

The negligence, carelessness and/or recklessness of defendant further consisted of

Permitting an incompetent driver to operate the motor vehicle;

Failing to determine whether defendant driver possessed the necessary
skills and/or possessed the necessary mental or physical ability to exercise
such driving skills;

Failing to determine whether defendant driver possessed a valid license or
other requirements to

drive and/or operate a motor vehicle;

Failure to inspect defendant driver’s prior history of bad driving;

Failing to instruct defendant driver in the proper method of operating a
motor vehicle;

Failing to properly instruct the defendant driver on how to properly

13
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operate his or her motor vehicle and its warning apparatus in an
emergency situation;

h. Failing, as defendant driver's authority, to control defendant driver's
conduct in regard to the manner in which defendant driver were operating
the motor vehicle at the aforesaid time and place as herein before
described;

i. Failing to maintain said vehicle in a safe condition;

j. Allowing this dangerous, unsafe and defective motor vehicle to be
operated on a public highway;

k. Failing to properly hire employees, including co-Defendant;

l. Failing to properly train and supervise employees, including co-
Defendant;

m. Failing to properly maintain its vehicles, including the vehicle being
operated by co-Defendant; and,

n, Failing to properly assure that its drivers, including co-Defendant, would
not put others in danger, including Plaintiff.

28, As a direct result of the negligent, careless and/or reckless conduct of defendant,
The plaintiff, suffered various serious and permanent personal injuries, serious impairment of
body function and/or permanent serious disfigurement, and/or aggravation of pre-existing
conditions, including, but not limited to: head, spine, neck, back, arms, hands, legs, and feet, and
other ills and injuries, all to plaintiff's great loss and detriment.

29. _— As a result of these injuries, all of which are permanent in nature and all of which

Are to plaintiff’s great financial detriment and loss, plaintiff has in the past, is presently, and may

14
Case 3:21-cv-01339-KM Document 1-1 Filed 07/30/21 Page 17 of 23

in the future suffer great pain, anguish, sickness and agony and will continue to suffer for an
indefinite time into the future.

30. As an additional result of the carelessness, negligence and/or recklessness of
defendant, plaintiff has suffered emotional injuries along with the physical injuries suffered.

31. Asa further result of the injuries sustained, the plaintiff has, is presently, and may
in the future undergo a great loss of earnings and/or earning capacity, all to plaintiff's further loss
and detriment.

32, Furthermore, in addition to ail the injuries and losses suffered, the plaintiff has
incurred or will incur medical, rehabilitative and other related expenses in an amount equal to
and/or in excess of the basic personal injury protection benefits required by the Pennsylvania
Motor Vehicle Financial Responsibility Law, 75 Pa. C.S. $1701, et, seq., as amended, and/or
Worker’s Compensation Benefits, pursuant to Act 57, for which plaintiff makes claim for in the
present action.

WHEREFORE, plaintiff demands judgment in plaintiffs favor and against defendant in
an amount in excess of Fifty Thousand ($50,000.00) Dollars, plus all reasonable costs and any

other relief the court deems necessary.

COUNT IV
Corey Medley v. CW Transport, LLC a/k/a CW Transportation, LLC

Personal Injur

33. Plaintiff incorporates by reference all the allegations contained in the above

paragraphs as if the same were set forth below at length.
34. The negligence, carelessness and/or recklessness of defendant, acting individually

and/or by and through agents, servants, workanen and/or employees, consisted of the following:

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a. Operating a motor vehicle in a negligent and/or careless manner without
regard for the rights or safety of plaintiff or others;
b. Failing to have said vehicle under proper and adequate control;

c. Failing to observe the position of plaintiff and to take such action as was

 

necessary to prevent causing a collision;

d. Failing to operate a motor vehicle at a speed which would have allowed
defendant to stop within an assured clear distance;

e, Operating said vehicle at a dangerous and excessive rate of speed under
the circumstances;

f. Being inattentive to defendant's duties as an operator of a motor vehicle;

g. Disregarding traffic lanes, patterns and other devices;

h. Failing to keep an adequate distance from other vehicles that were within
the vicinity of defendant's vehicle;

i, Failing to perceive the highly apparent danger to others which the
defendant’s actions and/or inactions posed;

j. Failing to give plaintiff meaningful warning signs concerning the
impending incident;

k. Failing to exercise ordinary care to avoid injuring plaintiff}

l. Failing to be highly vigilant and maintain sufficient control of said
vehicle;

m. Causing a collision;

n. Operating a motor vehicle with disregard for the rights, safety and

proximity of plaintiff, even though defendant was aware, or should have

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35,

the following:

8.

been aware of plaintiff's presence and the threat of harm posed to plaintiff,
Failing to inspect defendant's vehicle or to maintain defendant's vehicle in
a safe and non-defective condition;

Allowing a dangerous, unsafe and defective motor vehicle to be operated
on a public highway;

Failing to operate a motor vehicle in compliance with the applicable laws
and ordinances of the Township of Foster and Schuylkill County and the
Statutes of the Commonwealth of Pennsylvania pertaining to the operation
and control of motor vehicles;

Operating a motor vehicle and other devices at the same time and in total
disregard for the safety of the plaintiff and others in direct violation of the
laws of the Commonwealth of Pennsylvania; and,

Driving recklessly.

The negligence, carelessness and/or recklessness of defendant further consisted of

Permitting an incompetent driver to operate the motor vehicle;

Failing to determine whether defendant driver possessed the necessary
skills and/or possessed the necessary mental or physical ability to exercise
such driving skills;

Failing to determine whether defendant driver possessed a valid license or
other requirements to

drive and/or operate a motor vehicle;

Failure to inspect defendant driver’s prior history of bad driving;

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f Failing to instruct defendant driver in the proper method of operating a
motor vehicle;

g. Failing to properly instruct the defendant driver on how to properly
operate his or her motor vehicle and its warning apparatus in an
emergency situation;

h. Failing, as defendant driver's authority, to control defendant driver's
conduct in regard to the manner in which defendant driver were operating

’ the motor vehicle at the aforesaid time and place as herein before
described;

i. Failing to maintain said vehicle in a safe condition;

j. Allowing this dangerous, unsafe and defective motor vehicle to be
operated on a public highway;

k. Failing to properly hire employees, including co-Defendant;

l. Failing to properly train and supervise employees, including co-
Defendant;

m. Failing to properly maintain its vehicles, including the vehicle being
operated by co-Defendant; and,

n. Failing to properly assure that its drivers, including co-Defendant, would
not put others in danger, including Plaintiff.

36. As a direct result of the negligent, careless and/or reckless conduct of defendant,
The plaintiff, suffered various serious and permanent personal injuries, serious impairment of
body function and/or permanent serious disfigurement, and/or aggravation of pre-existing

conditions, including, but not limited to: head, spine, neck, back, arms, hands, legs, and feet, and

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other ills and injuries, all to plaintiff's great loss and detriment.

37,  Asaresult of these injuries, all of which are permanent in nature and all of which

Are to plaintiff's preat financial detriment and loss, plaintiff has in the past, is presently, and may

in the future suffer great pain, anguish, sickness and agony and will continue to suffer for an

indefinite time into the future.

38. As an additional result of the carelessness, negligence and/or recklessness of
defendant, plaintiff has suffered emotional injuries along with the physical injuries suffered.

39. Asa further result of the injuries sustained, the plaintiff has, is presently, and may
in the future undergo a great loss of earnings and/or earning capacity, all to plaintiffs further loss

and detriment.

40. Furthermore, in addition to all the injuries and losses suffered, the plaintiff has
incurred or will incur medical, rehabilitative and other related expenses in an amount equal to
and/or in excess of the basic personal injury protection benefits required by the Pennsylvania
Motor Vehicle Financial Responsibility Law, 75 Pa. C.S. §1701, et. seq., as amended, and/or
Worker’s Compensation Benefits, pursuant to Act 57, for which plaintiff makes claim for in the

present action.

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Case 3:21-cv-01339-KM Document 1-1 Filed 07/30/21 Page 22 of 23

WHEREFORE, plaintiff demands judgment in plaintiff's favor and against defendant in
an amount in excess of Fifty Thousand ($50,000.00) Dollars, plus ali reasonable costs and any

other relief the court deems necessary.

SPEAR, GREENFIELD,
RICHMAN, WEITZ & TAGGART, P.C.

BY: MARC F. GREENFIELD, ESQUIRE

   

 

INTERROGATORIES, REQUESTS FOR PRODUCTION OF DOCUMENTS, SUPPLEMENTAL
REQUESTS AND REQUEST FOR ADMISSIONS ARE SERVED ATTACHED TO PLAINTIFF'S
COMPLAINT AT THE TIME SERVICE OF ORIGINAL PROCESS IS AND/OR WAS
EFFECTUATED,

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